         Case No. 1:20-cr-00305-DDD Document 1 filed 07/08/20 USDC Colorado pg 1 of 1

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                                                         District of Colorado
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                             Y
                      Michael Aaron Tew
                                                                            &DVH1R
                                                                                       20-mj-00088-KLM



                            Defendant(s)


                                                   CRIMINAL COMPLAINT
          ,WKHFRPSODLQDQWLQWKLVFDVHDQGVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                  August 2018 to present         LQWKHFRXQW\RI               Denver         LQWKH
     State and          'LVWULFWRI             Colorado        WKHGHIHQGDQW V YLRODWHG

             Code Section                                                     Offense Description
18 U.S.C 1956(h)                                  Conspiracy to Commit Money Laundering




          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
          See Affidavit attached hereto and hereby incorporated by reference.




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u

                                                                                                   s/ Lisa Palmer
                                                                                                Complainant’s signature

                                                                                               Lisa Palmer, SA IRS-CI
                                                                                                 Printed name and title

6ZRUQWREHIRUHPHDQG            VLJQHGLQP\SUHVHQFH[✔[submitted, attested
                                                                            ted to, and acknowledged by reliable electronic means.
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'DWH          08August
                  Jul 2020
                        25, 2012
                                                                                                   Judge’s signature
                                                                                  Kristen L. Mix
&LW\DQGVWDWH                           Denver, Colorado
                                                                                  United S
                                                                                         States Magistrate Judge
                                                                                                 Printed name and title
